Case 4:17-cv-00131-CVE-tlw Document 20 Filed in USDC ND/OK on 08/11/17 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OKLAHOMA


  COCO REED                                 )
                                            )
         Plaintiff,                         )      Case No. 17-CV-00131-CVE-TLW
                                            )
  v.                                        )
                                            )
  TRINITY CONTAINERS, LLC                   )
  A foreign, for-profit corporation         )      JURY TRIAL DEMANDED
                                            )      ATTORNEY LIEN CLAIMED
         Defendant.                         )


                         JOINT STIPULATION OF DISMISSAL

         Plaintiff CoCo Reed, as well as Defendant Trinity Containers, LLC, pursuant to

  Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate that Defendant Trinity Containers, LLC in

  the above-styled and numbered action, is dismissed without prejudice as to refiling, with

  each party bearing their own costs and attorney’s fees.



                                                   Respectively Submitted,



                                                   /s/ Benjamin Oxford____________
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Case 4:17-cv-00131-CVE-tlw Document 20 Filed in USDC ND/OK on 08/11/17 Page 2 of 2




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